          Case 4:05-cr-00454-CW         Document 62         Filed 12/12/05       Page 1 of 2


   V.ROY LEFCOURT (SBN 49950)
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   San Francisco, CA 94115
 2 (415) 776-0207

 3
   Attorney for Defendant
 4 FRANCES ALIGANGA

 5
                                        UNITED STATES OF AMERICA
 6
                                  NORTHERN DISTRICT OF CALIFORNIA
 7
                                             OAKLAND DIVISION
 8

 9
     UNITED STATES OF AMERICA,                        ) No.: CR05-00454 CW
10
                                                      )
11             Plaintiff,                             )
                                                      ) STIPULATION
12        v.                                          )
13                                                    )
     FRANCES ALIGANGA,                                )
14                                                    )
               Defendant.                             )
15
                                                      )
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18             GOOD CAUSE APPEARING, the parties agree to permit defendant Frances Aliganga to leave

19 the Cornell Halfway House at the discretion and direction (and with the prior approval) of pretrial

20
     services in order that she may work, have visitation rights with her daughter, and seek medical treatment,
21
     each which require the defendant to travel to the Eastern District of California. This request has been
22

23 approved by pretrial service officer Steven Sheehan.

24
     SO STIPULATED.
25
     //
26
     //



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          Case 4:05-cr-00454-CW   Document 62    Filed 12/12/05            Page 2 of 2



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 1
     //
 2

 3
     DATED: December 9, 2005               Respectfully submitted,
 4

 5
                                           /s/ V.Roy Lefcourt____________
 6                                         V.ROY LEFCOURT
                                           Attorney for Defendant
 7
                                           FRANCES ALIGANGA
 8

 9 DATED: December 9, 2005

10                                         _/s/ Douglas Sprague __________
                                           DOUGLAS SPRAGUE
11                                         Assistant United States Attorney
12                                                                   S DISTRICT
                                                                  ATE           C
                                                                 T
13




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                                                                                RDERE
                                                       UNIT

14 PURSUANT TO STIPULATION, IT IS SO ORDERED.                           OO
                                                                IT IS S




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15
                                                                                       B   razil
                                                                               ayne D.
                                                       NO




                                                                     Judge W




                                                                                                   FO
16
                                                        RT




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     DATED: December 12, 2005
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                                           ___________________________________
18
                                           HONORABLE WAYNE D. BRAZIL
19                                         UNITED STATES MAGISTRATE JUDGE
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